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iN THE UNITED STATES DISTRIQTACOURT
FOR THE DISTRICT OF RHQQEJ;§LAND

ZE}] FEE i2 53 3101

In violation of 21 U.S.C. §§
846, 841(&), and 331(a)

 
    

UNITED STATES OF AMERICA

V.

vvvv\/V-.¢

PATRICK CUNNINGHAM

PLEA AGREEMENT

Pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal
Procedure, the United States and Defendant PATRICK CUNNINGHAM have
reached the following agreement:

1. Defendant’s Obligations.

a. Defendant will waive presentation of this matter to

a grand jury and consent to the filing of a two-count Information
which charges Defendant with Conspiracy To Distribute Steroids in
violation of 21 U.S.C. § 846 (Count I) and Distribution of a
Misbranded Drug in violation of 21 U.S.C. § 331(a) (Count II).
Defendant will plead guilty to said Information. Defendant agrees
that the time between the filing of this plea agreement and the
scheduled date for the change of plea is excludable under the
Speedy Trial Act, 18 U.S.C. § 3161.

2. Government’s Obligations. In exchange for Defendant's

plea of guilty:

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a. The government will recommend that the Court impose
a term of imprisonment at the lowest point within the range of
sentences for the offense level determined by the Court under the
United States Sentencing Guidelines (USSG or the "guidelines"),
but not including probation or a "split-sentence," even if
permitted under the guidelines.

b. The Government will recommend that Defendant
qualify for the "safety valve" provided that:

i. Defendant meets with government
representatives, not later than one month in advance of the
scheduled sentencing date and truthfully provides all information
and evidence Defendant has concerning the offense(s) to which
Defendant pleads guilty and which were part of the same course of
conduct or of a common scheme or plan; and

ii. Defendant otherwise meets the statutory
requirements for the "safety valve." 18 U.S.C. §3553(f)(1)-(4).

c. For purposes of determining the offense level, the
government agrees to recommend a two-level reduction in the
offense level for acceptance of responsibility under § 3E1.1(a) of
the guidelines if Defendant continues to demonstrate Defendant's
acceptance of responsibility through sentencing.

d. As of the date of this agreement, Defendant has
timely notified authorities of an intention to enter a plea of

guilty. If the offense level is 16 or greater and Defendant

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enters a plea of guilty pursuant to this agreement, the government
will move the sentencing Court for an additional decrease of one
level, pursuant to USSG § 3E1.l(b)(2), unless Defendant indicates
an intention not to enter a plea of guilty, thereby requiring the
government to prepare for trial.

e. The government is free to recommend any combination
of supervised release, fines, restitution and costs which it deems
appropriate.

3. Defendant understands that the guidelines are not
binding on the Court, and that, although the Court must consult
the guidelines in fashioning any sentence in this case, the
guidelines are only advisory, and the Court may impose any
reasonable sentence in this matter up to the statutory maximum
penalties after taking into account the factors enumerated in 18
U.S.C. § 3553(a).

4. The United States and the Defendant stipulate and agree
the quantity of steroids that the defendant conspired to
distribute was greater than 40,000 units under USSG §2D1.1

5. Except as expressly provided in paragraph 2 and 4, there
is no agreement as to which Offense Level and Criminal History
Category applies in this case. Both the United States and
Defendant reserve their rights to argue and present evidence on
all matters affecting the guidelines calculation.

6. The maximum statutory penalties for the offenses to

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which Defendant is pleading guilty are as follows:

COUNT l (21 U.S.C. § 846)
a. a term of imprisonment of not more than 10
years;
b. a fine of up to $500,000;
c. a term of supervised release of 2 years to
life; and
d. a mandatory special assessment of $100.

COUNT 11 (18 U.S.C. §§ 331(a) and 333(a)(2))
a. a term of imprisonment of not more than 3
years;
b. a fine of up to $10,000;
c. a term of supervised release of 3 years; and
d. a mandatory special assessment of $100.

If imposed consecutively, the maximum penalties for all
offenses to which Defendant is pleading guilty are 13 years
imprisonment; a fine of $510,000; and a term of supervised release
of life. The mandatory special assessment totals $200.

7. Defendant agrees that after Defendant and Defendant’s
counsel sign this agreement, counsel will return it to the United
States Attorney's Office along with a money order or certified
check, payable to the Clerk, United States District Court, in
payment of the special assessments. Failure to do so, unless the

Court has made a previous finding of indigence, will relieve the

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government of its obligation to recommend a reduction in the
offense level under the guidelines for Acceptance of
Responsibility.

8. Defendant is advised and understands that:

a. The government has the right, in a prosecution for
perjury or making a false statement, to use against the defendant
any statement that the defendant gives under oath;

b. Defendant has the right to plead not guilty , or
having already so pleaded, to persist in that plea;

c. Defendant has the right to a jury trial;

d. Defendant has the right to be represented by
counsel - and if necessary, have the Court appoint counsel - at
trial and every other stage of the proceeding;

e. Defendant has the right at trial to confront and
cross-examine adverse witnesses, to be protected from self-
incrimination, to testify and present evidence, and to compel the
attendance of witnesses; and

f. Defendant waives these trial rights if the Court
accepts a plea of guilty.

9. The government reserves its full right of allocution,
including the right to present any information to the Court for
its consideration in fashioning an appropriate sentence, the right
to correct misstatements, misrepresentations, or omissions by

Defendant, and to answer any questions asked by the Court,

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10. Defendant understands that the Court alone makes all
sentencing decisions, including the application of the guidelines
and the sentence to be imposed. The Court is not bound by the
parties’ stipulations of fact, offense level adjustments, or the
government's recommendations. The Court is free to impose any
sentence it deems appropriate. Defendant also understands that,
even if the Court's guidelines determinations and sentence are
different than Defendant expects, Defendant will not be allowed to
withdraw the plea of guilty.

11. Defendant hereby waives Defendant’s right to appeal his
conviction and sentence, if the sentence imposed by the Court is
within the guideline range determined by the Court or lower. This
agreement does not affect the rights or obligations of the United
States as set forth in 18 U.S.C. § 3742(b), and the government
retains its right to appeal any of the Court's sentencing
determinations.

12. This agreement is binding on the government only if
Defendant pleads guilty, fulfills all Defendant’s obligations
under the agreement, does not engage in any conduct constituting
obstruction of justice under § 3C1.1 of the guidelines, and does
not commit any new offenses. Defendant understands that if
Defendant violates this agreement in any way, the government shall
be released from.its obligations under the agreement and will be

free to make any recommendations that it deems appropriate. If

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that occurs, Defendant shall not have the right to withdraw
Defendant’s guilty plea.

13. This agreement is limited to the District of Rhode
Island and does not bind any other federal, state, or local
prosecutive authorities.

14. This plea agreement constitutes the entire agreement
between the parties. No other promises or inducements have been
made concerning the plea in this case. Defendant acknowledges
that no person has, directly or indirectly, threatened or coerced
Defendant to enter this agreement. Any additions, deletions, or
modifications to this agreement must be made in writing and signed
by all the parties in order to be effective.

15. Counsel for Defendant states that he has read this
agreement, been given a copy of it for his file, explained it to
his client, and states that to the best of his knowledge and
belief, Defendant understands the agreement.

16. Defendant states that Defendant has read the agreement
or has had it read to Defendant, has discussed it with counsel,

understands it, and agrees to its provisions.

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ATR cK NIN Date
Defendant

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MA‘fTHEw` 'DAwsoN Date ‘ /

Counsel for Defendant

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RICHARD MYRUS Date`>
Assistant U S. Attorney

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ADI \ngLDsTEIN Date ‘
Assistant U.S. Attorney
Deputy Chief, Criminal Division

